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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                 -against-                                                22 er 480 (JGK)

HENRY BEATO,
                                   Defendant.
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        It is hereby ordered that Patrick Joyce, Esq. , be appointed as counsel to the above-named

defendant, for purposes of the pending violation proceeding.

SO ORDERED.


                                                                        JO N G. KOELTL
                                                                 UNITED STATES DISTRICT JUDGE
Dated: New York, New York
       August 10, 2023
